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 8                       UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   GENERAL STEEL DOMESTIC
     SALES, LLC, dba GENERAL
12   STEEL CORPORATION,
                                                   NO. CIV. S-06-411 LKK/KJM
13
                Plaintiff,
14
          v.                                             O R D E R
15
     JOHN W. SUTHERS, et al.,
16
                Defendants.
17                                   /

18        This is a RICO and § 1983 action brought by plaintiff General

19   Steel against various defendants who allegedly conspired together

20   to ruin plaintiff’s business and induce governmental entities to

21   prosecute plaintiff for consumer law violations.          Previously, on

22   March 2, 2007, the court dismissed several defendants for lack of

23   personal jurisdiction and stayed the case pursuant to Younger.

24   Pending before the court is plaintiff’s motion to remove the stay,

25   brought on the basis of changed circumstances, and a motion to

26   transfer the action to Colorado under 28 U.S.C. § 1404(a) for

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 1   convenience and in the interests of justice.

 2        The Denver Boulder Better Business Bureau (“BBB”) and other

 3   BBB-affiliated defendants have filed an opposition to the motion

 4   to vacate the order of abstention, joined by defendants Gannett Co.

 5   and Yost.   Included in the BBB’s opposition is a motion to stay on

 6   an alternate grounds, pursuant to Colorado River.         All defendants

 7   agree that if the court were to lift the abstention, transfer would

 8   be appropriate.    The court resolves the matter upon the parties’

 9   papers and after oral argument.      For the reasons explained below,

10   the court grants the motion to lift the abstention only as to

11   Younger and transfers this action to the District of Colorado, to

12   further order as it believes is appropriate.

13                                I. Background

14        The background set forth in the court’s March 2, 2007 order

15   is incorporated herein by reference.          As the court previously

16   stated, “[t]he crux of plaintiff’s complaint is that defendants

17   allegedly conspired together to create the false impression that

18   General Steel, which is in the business of selling steel buildings,

19   was violating consumer protection laws and engaging in unfair

20   business practices and illegal advertising.”         Order at 3.

21        After dismissing certain defendants for lack of personal

22   jurisdiction, the court abstained under Younger v. Harris, 401 U.S.

23   37 (1971), based on three state court actions: one filed by the

24   Colorado Attorney General against General Steel, one filed by the

25   Sacramento District Attorney against General Steel, and one filed

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 1   by General Steel against the BBB.1 Pursuant to a stipulation filed

 2   on April 5, 2007, the Colorado Attorney General and the Sacramento

 3   District Attorney, among other defendants, were dismissed from this

 4   action. All parties remaining in this action appear to agree that,

 5   if there is any basis for maintaining the stay under Younger, it

 6   derives from the Colorado state court action filed by General Steel

 7   against the BBB (the “BBB state court action”).

 8        In granting defendants’ motion to abstain, this court found

 9   that plaintiff’s federal action would interfere with the ongoing

10   BBB state court action because the state court judge had, at the

11   time, ordered a stay of that case; accordingly, permitting this

12   suit to go forward would have allowed plaintiff to circumvent that

13   order.    Order at 18.   The judge in the BBB action ordered a stay

14   because if the factual findings and conclusions of law in the

15   separate state court action brought by the Colorado Attorney

16   General   against   General   Steel       became   final   for   purposes   of

17   collateral estoppel, this would dispose of at least some of General

18   Steel’s claims against the BBB.

19        The action brought by the Colorado Attorney General concluded

20   on March 8, 2007, when the state court executed a consent decree.2

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22        1
            Although there was a fourth state court action filed by
     General Steel against Steelwise LLC and various former General
23   Steel employees, there were no important state interests implicated
     in that case, and it is therefore not a basis for Younger
24   abstention.
25        2
            As part of the settlement agreement, General Steel agreed
     to continuation of the injunction entered after a bench trial and
26   to pay $4.5 million in consumer restitution.

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 1   General Steel then moved to lift the stay in the BBB action, which

 2   was granted on July 10, 2007.         Accordingly, the stay that this

 3   court originally relied upon in abstaining under Younger has since

 4   been lifted.     BBB has filed a motion for summary judgment in the

 5   BBB action on July 17, 2007 asserting collateral estoppel on the

 6   basis of the Colorado Attorney General action.           That motion is

 7   presently pending and an opposition has not yet been filed.

 8                                   II. Analysis

 9   A. Younger Abstention

10           Younger abstention is appropriate where there are ongoing

11   state     judicial    proceedings    that   implicate   important     state

12   interests,    where    the   state   proceedings   provide   an   adequate

13   opportunity to raise federal claims, and where the exercise of

14   federal court jurisdiction would interfere with those proceedings.

15   Middlesex County Ethics Committee v. Garden State Bar Ass’n, 457

16   U.S. 423, 432 (1982);        Gilbertson v. Albright, 381 F.3d 965, 978

17   (9th Cir. 2004).      On March 2, 2007, the court found these elements

18   satisfied and stayed the case.        General Steel now argues that the

19   court should remove the stay because (1) BBB has opposed efforts

20   by General Steel to raise its federal claims in the BBB state court

21   action, and (2) circumstances have changed such that the original

22   reason for the stay no longer applies.

23           1. Ability to Assert Federal Claims in State Court Action

24           The first asserted basis for the motion does not lie and may

25   be dispensed with quickly.       General Steel argues that because BBB

26   has indicated that it will object to General Steel’s motion for

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 1   leave to amend its state court complaint in order to assert its

 2   federal claims, it has played “fast and loose” with this court.

 3   Earlier, BBB argued in its original abstention motion before this

 4   court that there were adequate opportunities to raise General

 5   Steel’s federal claims in state court.

 6           The fact that BBB is now opposing (or plans to oppose) General

 7   Steel’s efforts to amend its complaint to assert federal claims has

 8   nothing to do with the adequacy of its original opportunity to do

 9   so.     As this court explained in its previous order, the relevant

10   issue for purposes of Younger abstention is whether a party was

11   given an adequate opportunity to assert its federal claim, not

12   whether the opportunity was actually exercised or was exercised in

13   a timely manner.        See Gilbertson, 381 F.3d at 975 (holding that a

14   party’s “failure to avail himself of the opportunity does not mean

15   that the state procedures are inadequate”). Accordingly, the court

16   rejects General Steel’s argument that the stay should be removed

17   on this basis.

18           2. Changed Circumstances

19           The second asserted reason for the motion -- that the original

20   reason for the stay no longer applies -- is more serious.                General

21   Steel notes that the stay in the BBB state court action (which

22   prompted this court’s stay) has been lifted.                 BBB responds that,

23   notwithstanding        this   fact,   this      court’s   abstention   is    still

24   appropriate because allowing this case to go forward would require

25   a    federal   court    to    adjudicate       the   collateral   estoppel   issue

26   presently pending before the BBB state court.                BBB maintains that

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 1   the collateral estoppel issue implicates important state interest,

 2   because, among other things, it raises the question of whether

 3   parties may stipulate that a judgment does not have preclusive

 4   effect, which BBB asserts is precisely what the Colorado Attorney

 5   General and General Steel did in the state court action between

 6   them.

 7           BBB argues that “any court that addresses General Steel’s

 8   civil rights and RICO claims asserted here will necessarily have

 9   to resolve the same issue of collateral estoppel that is now being

10   adjudicated in the Colorado BBB action.”         Opp’n at 15.     But the

11   mere fact that a federal court may rule upon this one narrow issue

12   does not mean that it would necessarily interfere with a state

13   court proceeding.     To the contrary, in a system that tolerates

14   concurrent jurisdiction, federal and state courts may frequently

15   rule on the same issues.       Without more, this single overlap in

16   adjudication is not sufficient to implicate “important state

17   interests” under Younger.

18           The only other possible federal-state conflict is that there

19   might be an actual disagreement over how to resolve the collateral

20   estoppel issue.    For example, BBB seems to argue that if the state

21   court were to find collateral estoppel applicable, and dismiss

22   General Steel’s claims against BBB, but this court were to find

23   collateral estoppel inapplicable, and thereby permit General Steel

24   to pursue its claims against BBB, such action would interfere with

25   the state court order.

26           This is, to say the least, a fairly speculative possibility,

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 1   which      is   insufficient       grounds       for    Younger        abstention.      See

 2   AmerisourceBergen Corp. v. Roden, 495 F.3d 1143, 1151 (9th Cir.

 3   2007) (“the district court’s finding of an abstention-worthy

 4   conflict        based   on   a   potential       for        conflict    was   erroneous”)

 5   (emphasis in original).              BBB’s argument rests on the two-fold

 6   assumption that federal-state conflict will arise because (1) the

 7   state court will find collateral estoppel applicable, and (2) this

 8   court will find it inapplicable.                 But a state court order barring

 9   General Steel’s claims on the basis of collateral estoppel has not

10   yet been issued; indeed, General Steel has not yet even filed

11   opposition papers to the motion.3                 This not-yet-existing conflict

12   is insufficient grounds for abstention.

13          Moreover, even if this court were inclined to analyze the

14   merits of the collateral estoppel issue -- which is what General

15   Steel has urged this court to undertake -- it would first wait for

16   the state court to adjudicate its pending motion that raises the

17   same issue.        If the state court were to find collateral estoppel

18   inapplicable, and permit General Steel to pursue its claims against

19   BBB, there would be no risk for any alleged federal interference

20   with       state   court     proceedings.              On     the   basis     of   present

21   circumstances,          however,    a   continued            stay   under     Younger    is

22   unwarranted.

23   ////

24   B. Colorado River Abstention

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           The court passes no judgment on the merits of the collateral
26   estoppel issue.

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 1        BBB also argues that the court should continue the present

 2   stay on the basis of Colorado River Water Conservation District v.

 3   United States, 424 U.S. 800 (1976).4 The court declines to address

 4   this issue.   The only obstacle to transferring the action is this

 5   court’s original stay imposed pursuant to Younger.             Once that

 6   obstacle has been removed, the case can and should be transferred.5

 7   Any further action in this case, including resolution of the

 8   Colorado River issue, would more appropriately be undertaken by the

 9   transferee court.

10                               III. Conclusion

11        For the reasons explained above, the court GRANTS the motion

12   to remove abstention only as to the Younger issue and GRANTS the

13   motion to transfer this action to the District of Colorado pursuant

14   to 28 U.S.C. § 1404(a) & (b).

15        IT IS SO ORDERED.

16        DATED: October 9, 2007.

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21        4
            In its original motion to abstain, BBB also raised this
     argument, but the court did not rule on it because the court found
22   sufficient grounds to abstain under Younger.
23        5
           Although the initial motion to transfer was brought pursuant
     to 28 U.S.C. § 1404(a) --      which provides that the court may
24   transfer an action for the convenience of parties and witnesses and
     in the interests of justice -- in light of the defendants’ non-
25   opposition to the motion to transfer, the court also has authority
     to transfer the action pursuant to 28 U.S.C. § 1404(b) -- which
26   permits transfer upon consent or stipulation of the parties.

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